Case: 142 2 Document #: 32 te ee Page Lof 19 Peps A ir
SON ae ee KA

rch Bl aMwell ter Dense &
Noose PoSthen Due to Call?

0 eceS Tr, Haves, Camphee,
Sali — COME mae aE
hn ae CX&T SS
Thee +o deo with a_ Decre—
ee thir wreele Cue had hoped
Hee (7 | TPO pena ane —how-
S21 BAS bode ry seb Wwe; at
a Cashier $ 51g [how
ee ee sith i a
G U Li ‘o Q.
6A an cxchra appointment His
week with fnery Cage
| a + alee n ay =
— CA CAs APP (CA
1 oa ees ft SNAP
IL aaa i Mraaltiven cs wad
Tati ed We are desperately
oMAS seated" “bo Keep the. Mega
uenk US.Ore be ww nae dawn So

tha+ Set of

Cate! Tea ey er eee .

Werk en Hro_ Shoulda Mm joy Ana

| pow Skate potote wer betel able
eal te start the ankle , foot, ke nee.
| medical wacle yet. is De Ges AA Co

fortes us fo use! xrays and do

wt | this wk fo a [ong peed

of pe and then MSWANCL.

Allows dhe Dectes +o preSen oe

MQ5E 2S AThe. (WR Lr i bee meet

ee ST TT ERE Gat te

i ¢ € €
Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 2 of 19 PagelD #:334

‘nee Tet asgeer tice FJ

| pene Bur Fre - apes
| Medaacd healty NM fuvance
 wiereree ww hew Dechy 7
Treat te preat  thefe

2 a Mi WES,
LJ

a Mj Wet.
Thee edie ee
| “ae oe es
pO “TLS
| app aa. tates ‘ ERA a
flee. haat ey cae Wed rad ae
| calcvlated ae a ee,

| ab ao AU 000 CAL pon te
o AM V\.0 ce
| a. foo A a I SUAPY ‘be
| buy tind _, a PA es a ano
| ata a fa“ Medicaid , free

MOWAN Ce. -

tia my my BaensS bo pee

= tee LO
bleer locke opae a Fed Cour ey Hi
| Free bWNhnle
| i Sin Saal may ’ lawoate agalnit

Ai rand De 1 oa i ow

es pant’ Bes po hres
eee ped be alte sc

ane of thee qveshe feed on the Cort

LHOOCN OO OMCCGOOCOOCOCCOCE OO OFr~

OCL OC
2

c

| i i |i. | f )  ¢ jt
IASC CCE COECCEECECECCOCOTC CEE:

COCEeLS

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 3 of 19 PagelD #:335

pekeee LJ a wer ape ea Ti to three
say | a ha hiovfer al a

Pro Se Figen

hr a\So Stepped warkm
| yg (veda y BNO oe aT N
Marz. a COO. pe a eae.
a. M1 Oe
ila Men be. rep at scate a
saat haying - nk psi de ho
Sane eag. to helo

ape ( Ao (be
le hllantsd “do nef eal
thennr aa ete ie, hI

A te, pay
the broken phone 2 FAY

oka. fe a i NOW or.
num et
Ben i idee Jarbagh — a ve
oid ae ie . aa shove. \seon
pA (4 ee eae Far
damages » pies Paysica
ee at ee
ts a la On
needs be te- fr obilety ae

toe De Yen danty ieee
het ee i ie Auk
| aed, ed nip Me,

as E tay
ind dened 0 ie ete D Disabi Ty
|
Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 4 of 19 PagelD #:336

| —”

| ae On at DAR
| of “E ate Pe a. eee

Bisoleit eilined f ead a (
but eed Noga of ‘carnal i
reqpred acedrimeda tds”
Gee ee theta Cas!

bbs HW.
Ua Nes: Ch ie SE Giee re.

“This \awsSutr is Bice.
to ty to fe pt a Oe
ee ae ae that

XH IMI
‘cain con tue Oe pay ay a
O Ee aa
Ne Lon dante ae lagen

a

Thee Dete,d AA TS Ace furthe—
i a mecalescness and
MWh YU ce i a b

A a ane
| bee es Ana becavee

Dee, ae are. Demanding all
of my © ptreas to dain IC ~_
|e ‘abcetic ae AAC é nerma | job
Nn Oy apta of std, bee Shee on
by Your tHmay anh Ne gaily reshicted-

1

€ ¢ OCQo0oiccececcaococoqodoaocs,

( \

aK}

£ ae.

COCOOS
\
(

%

(

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 5 of 19 PagelD #:337

Om mable~ to cect .
pean. The S470. ha | ee iS

preu povsly ey

ants O
eS eee Riad Ul

AE a are i
| ey AS)
es = age F opal ei pect eog le]

CCCCOCEC CEE EE

=

sh
es
Se
REM
ie

5

In +— ee .
Been
cAa nm CAGSQ
oa “itl Le eae

fed “A aaa

aE
J | i legadly ac OL pl on pd
| hand pas CA. gm 4 a

CLEOCECOCOERCCOCOCCCEECE CK
=
Sy
Ca

se: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 6 of 19 PagelD #:338

ee Than ae
0

out of Eesti, Poles

tan AC
advee a Ee
l | rea AaduR_

EC
ons a arene SAool
A

ce pro LOO s
tee leg sgt a
0
ia dt P

ee log = Pee 4 tack. of ~
Ba B he ielghe shit

PEEK CELI OC COCEOMOCOHE TT COMOCOCEECCS
4

( ¢€ € 4

CEL ECOCKHERELOCCCOCELCOCOECECEECOCOCCEEE €

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 7 of 19 PagelD #:339

Tages Mobos to! desis Phit lawsvit

Pre puarce Prove An

i Yen os harm. that

INA 2 ee ef Cowwayd ard
Ceopeapn nth acrthoenhe?
At= Ua; ‘hy of Flin ote

extremely a ee iewturt

i a nly ch chan

eee nea: AAT fe Lact
the. cae lave
mae +o ae nh, gad
or foot LJ ere. ie.

“Neghees. etc. Unnecsi ty, £4
“Hew ee leqaul withhol ng
Mn petra LD ey

|The Deeadant Hh rea

a ov ovt it ee
mene Whit; 7 i

Ofbon Aaimed ir Aan illeqa | Toa

als Tyme ian ged the I endence.

if extreme | Cf
4 te. tee eee
good en there ——— even
Lg aC Meant blocliu FAO
Ven medical care_, dehees,
ines Petouees ef2,: J Nese)
pasie oft. A ees DEL

gh xM Vee (hy ree
ho '/12_

ee eit MNO De Rrdant

called me a. Grain oa UA,
veSsory wef OLA Oe endanty Mf u a a
Ce

|

}

ase: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 8 of 19 PagelD #:340

peper resowvier +o Ge. thre iounee

HEN Te ey ata harm
. oo ‘evidenced

ee cael cpa
Cte disraissed
ered ie Hes
oe so WV .
DBAINMLAG oc! (e4naiw NAv~mea
erp fod ree S nig. | te.
| ee soa Caden

oat, ie Gee 1k not
able to aes. +-o pay
evt ote (pocket fa .
Netendante' hayms done bo
me IF this lawsut WS hut
down Lith “Pres nwa. sain a
eG isr Gh aa Le" piso fa only
Chan Co | Pah Boece |

Wa that wold allow Mme_
ro 9 conbnve to pay owt ee
pe Acer far De- Ana
ARMA ges bend thay Cte ft...

Cc € ¢ OOQocc ¢ OOCcCQOONOIOCEeCCaaCcCccood

¢

i

}

¢
Case: nace ise2 Document #: 32 Filed: 03/25/24 Page 9 of 19 PagelD #:341
Iban

) — Pactern, oe, the- Detendantr
ae ee See
_pracnce— Wine OY

f — aA—

sha ensC ug “ De tendantr Et

yaa Wes lvapo SL (ble he report
en dante A
aie meee i. (fe. Llegahiat Heat

Dead arts elated ly uUFe.
se

own ty, slleSe-a fl
ae at hae
WIT Fer
oe ae aa ae
hectn Lf eo
Ly Ca oe = oy e xahous”
Ana 7 eg loo
pees a ne Comte =
AWS AGANMWSIT
ioe cted

4,
heed
Oe

| *¥ faite! Ups. fu se be
'
Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 10 of 19 PagelD #:342

Tops le napapte “OCA A
Sa aa eS fein dante
Dac a Hp ally

Katbp
erin bo Step the a
Hem) toe cing? apne ace Hy

ata ok al FaNm aa

| peea ee aS aspect.
a WS thew Court
ALE OLS INN rOW~ CON A
| O ak += | U- b,
LA ea “pa maka 4 oe,
TA.@

Speer

aor
ada are (sq oe
| eal lan eS “pynis lee

| zr REA
| ae pie Vaart a as. MShucted-

This Ce ek Vie La Type of 4
Conshtbanal Kahbtr (Mods
LS code A Sn ig
Te Tb ol ae sees

ij dastanrd it,
| (entity ten - AS Seed +o pole
—

{ X 1ij7q@.r~«7 A”

a

Qt(rvecricierttd ec Ce ccc cc €s

| i a. a ee

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 11 of 19 PagelD #:343

Looe lLawS, ag ve ndesttand ch
P lie yn Me. Had be MW thes Cawi0«Uth

| ae he-feadan ir Are @rnbtted

+o a launyer Ave fo

Hee a ee nie palin,
a a GTN. regen

tee So aa

| ae ANG Beat it Same thi.

— Deend a are mal)e}
| REC x Aint ing 78 ee

ot alee (CONN Ops GALE

sa Ha
jad Deed a a

| ee my atlas A WIT
i pane =e: adie Oy ide S04: )

an ee Tan mt
Er, YO VA
Bie US A ae ct ae

Dave fs orld
aoe Ef Cees ee

eCCHA UV » ee poo CALNE
Farev arth. bo txt 2Paf AT, Sana

a a ends es SAO popes
Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 12 of 19 PagelD #:344

Neto only apt Spe Gnchhrhaa (y
procri a tree, ANIL
fie ade
Kk COI LS. = LA
ae Coed ier eed
Le = i ae Lot pre _
Lina
Lots am A a (Seas i
my Ee (ee Pix fear nea: (aL

Dn fact, Same of Heo &

Seme of Der dave
Listed in pales CACC ae
Un Nei ty ee. Sie Mace FC. pe

Lawyers.’ truscehR lagle
Ie i Glens Hee sb Bester demi ace
Na “the la Be titt: ad st Se ay

= +o CO Pee fit
Cee ae (EA at ae

aS é
ileaall TA not damclefe
| Abutbe-s teh And a
gihes oF bb alib. rr
derailed M my lawcit.
Ar eeeate edge te eer
; LoVEe¢ iw
Cy reqverte i ey EAU TSCAT

(
OOHOCOCOOO

(4 cf 6

j

OCOCOCOOCCH EHS

reqpethng hat tysch Blachuel~
— A

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 13 of 19 PagelD #:345

Aaa DAN ot Ase FC

CC CCCCECCCCCECECEE

CCCCELOEUCLO CC ECE

See”

| Cerrect- co baygwms So

He Scheel na a a

| - eC
ee ee oe

baizast On Serres oj
AUOWS Oe yaaa a

| VANES hy of reastLeple pe te

vee Gee oh A GY
ee a

Sass plot

Unnveeyt ty ie II oP ee
mea aye tesa’ me eh

AcGes Aten ded ee asi

Alumni Png ingenv SS Bova

Ap Gio ee Can fac Ln yh

(ole:
explatoed ibe, spolictes To ye

lla: d the medirat a

Coe. for Jaman hea (th

ee ee ee anda ie
oe MA A AA
i necnet "Are ee

ee ASE FENG oS an
Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 14 of 19 PagelD #:346

| pve Aipial |e b re
| Pee Depa ode oe atin

ic aa Be as UL

At We PeZIng ce

Sy ears Emp lover AgaAusr
AR

leaal mrerrpgnthyd Gan
age a ey RN © Gao |

| Aow Ordmg “4 eC
hee iMega lly Bi gee han out
TVS a eld a be ole.

es OSS
| tide at j AY of E,

the_ cxAg ot Cal vne AAO Mare -
Dia Crea {

VS Ma of the SOY Excludu
eee Ban TLDS
pe Wler MRC vs

| Cr4n\0ULa ref O a fRE Va, |
Da FA AL ot oe PITEONSE
pul, Wile. Asma gdeg i2hyeS,
ete Thal Ge ek For
Wie A\an ian Ate ttre) ww
Men rei Sunde duredf to the

pete Aras ane Kongihg, anc

f

(

ry

OCOCLKOCOCCOOCCECECOOCOOOOOCUOCKOGOOCOS

)

|
|

CCC CCL ECCOECLCOCCECOCCEOC CELE.

(¢CLccr

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 15 of 19 PagelD #:347

(

| atractes Ueber WM Court oS

une Mhiea (, Anant CO up t,
| Coe ee Tr yerest an.
eee usc blaclewe Ie Sated

A 7? Na aivk Beas We

Po SITY On roe Pewee Ag Ce
Widen tt withbot, [

Wold and it i

Py thg Hh Uge his haz |
ae lawyer tab vena a

Ny CGipgge tt Seely eC,

ch Lee Lndga- dwell
0 un Pats report

To alia re

win tah 9 Hrat Upepred
mMe_ (LB oe 4 ( Bag, heels He ts,
Ane? Clan PEA LO PAO ta] —
Wart + conduc Hre_

Ma fi sper a shinas) that
Walt CanveRa Tea foe.

As ae
Cot pleae hee 1 Ae Pie
Cai

Se: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 16 of 19 PagelD #:348

Deter 4 ayn | Ltr cage,

AOR Gt Loui.

Aetad ig eg oe
Stel lAaets ae ee
ee Pot Vara wa [,

um ar)
Can 7 a oe ae Meee
DAG. FAIRY

= be Lpeuib BRD PA eg ee well

ete,  Qyguh sed nq ™M
MhnwHane_ ha af

O. Ms 4 LL») BAA

nee Ao not even eae

by Hn canto l dave. te yay

ouC> ee le art
al 4 ee Aa oe crear —ih
Tran er ge ae LJnat
biel“ —effecty
— et — tern.
Oar ages fe arena:
Ave newer o Saws oes
ee a is ie ya
my) we MAL Sen :
VicnmS are FO alee -

On rs
f

$.

rie

{

QO OCOCOOOCOOCOCECCOOCOCOCOES ¢
\ A 4 & 4

CL €C Ce CEC CCE ECOL OCOCOCCEE.

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 17 of 19 PagelD #:349

_neeks te 7S ae ULL_

- 1S ee gece
i A Tires f CU Ye8y
jo “i te, fact”
ac woe aA-“d
Pe 1S ken “Ws (Pee Lo
fea epee! 4 Fae

I tenvackh.
Ae | Smneved a Fe Cyden tr

| en CAM put al oat

Deans  OtFrtes, Tee,
| oe KC, ete a Phe
no satirbved is re yo

a Wie: ted

Pein ike thos! See

| prope Si 2 Bar Cit Ate
of Cn)\~L~e¥4 On ea YS

ae J haced =a
and So “hee CAN Ad ede

| —- aa att ke
| ae eee <Speaa lly Ai Corn,
Ca

Le A

se: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 18 of 19 PagelD #:350

—

LL Am out of pyre. Ant
$8. SDR AKY Cantare. tsar
ho cument- a.

Pe (eAned Vle Si cael
a i aA eA ray playiral

‘Cnn Aba . faveg ce ya :
ee Je Anata AC go 7 oe by hua,

[tA Awe Vou Rar CEP CG

Vol.
StAdneodAVle allot An ay Age

OECOCCOC OM

L

5

1OO”O

{

(

©)
s

Case: 1:23-cv-15882 Document #: 32 Filed: 03/25/24 Page 19 of 19 PagelD #:351

Physical Therapy planned to address neck and shoulder diagnosis x 8 visits.

Planned to evaluate and treat her foot and ankle once her neck and shoulder issue was improved.

N Northwestern
Medicine’

Rvhabilitation Services Scheduling Coordination Team

Monday-Thursday, 7:00am- 7:00pm
Friday, 7:00am-5:30pm
Saturday, 8:00 am-noon

Phone: 630.933.1500 (TTY: 711)
Fax: 630.933.1550
